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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TENNESSEE
                                    AT JACKSON

HUNTER HOLLINGSWORTH
    PLAINTIFF

VS.                                                         C.A. __________________

TENNESSEE WILDLIFE RESOURCES AGENCY,
KEVIN HOOFMAN,
UNITED STATES FISH AND WILDLIFE SERVICE,
KYLE LOCKE,
     DEFENDANTS

                                          COMPLAINT

       1. This action is brought pursuant to Tennessee Code Annotated 39-14-405, Tennessee

Code Annotated 39-14-406, Tennessee Constitution Article 1 Section §7, United States

Constitution Amendment 4, 42USC§1983, and the common law of Tennessee.

       2. The Plaintiff is a resident citizen of Benton County, residing at 800 Beaverdam Road,

Camden, Tennessee.

       3. The Defendant Tennessee Wildlife Resources Agency is a governmental agency for

the State of Tennessee, maintaining its headquarters at the Ellington Agricultural Center in

Nashville, and service of process may be had upon its director.

       4. Defendant Kevin Hoofman may be served at the West Tennessee Regional Office at

200 Lowell Thomas Drive, Jackson, Tennessee.

       5. Defendant United States Fish and Wildlife Service may be served on Greg Sheehan,

Acting Director, at U.S. Fish & Wildlife Service, 1849 C Street NW, Washington DC.

       6. Defendant Kyle Locke may be served at the US Fish and Wildlife Service Region 4

office at 1875 Century Boulevard NE, Atlanta, Georgia 30345.
